             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION


P.B. as Lawful Guardian Ad Litem  )
of Minor Child, Jane Doe,         )
                                  )
                      Plaintiff,  )
                                  )          CIVIL CASE NO.
          vs.                     )          1:12-cv-00334-MR-DLH
                                  )
BURKE COUNTY PUBLIC SCHOOLS )
BOARD OF EDUCATION, LINDA         )
BRADSHAW, JOHN ROES 1-10, and )
MICHAEL ANDREW ALEXANDER,         )
                                  )
                      Defendants. )
________________________________ )
                                  )
A.B. as Lawful Guardian Ad Litem  )
of Minor Child, L.B.,             )
                                  )
                      Plaintiff,  )
                                  )          CIVIL CASE NO.
          vs.                     )          1:13-cv-00009-MR-DLH
                                  )
BURKE COUNTY PUBLIC SCHOOLS )
BOARD OF EDUCATION, LINDA         )
BRADSHAW, JOHN ROES 1-10, and )
MICHAEL ANDREW ALEXANDER,         )
                                  )
                      Defendants. )
________________________________ )


                               ORDER




    Case 1:12-cv-00334-MR-WCM Document 130 Filed 06/16/21 Page 1 of 3
     THESE MATTERS are before the Court on the motion of Special

Guardian Ad Litem (“Special GAL”) Peggy Saunders for relief from the Order

Approving Settlement for the Benefit of Minors [Doc. 127]. Counsel for

Defendant Burke County Schools Board of Education and Defendant Linda

Bradshaw consents to the motion. [Id.].

     Upon review of the Special GAL’s motion, the Court concludes that its

prior Order Approving Settlement for the Benefit of Minors [Doc. 112] should

be amended in order to effectuate the agreement of the parties, this Court’s

approval of that agreement, and to provide each Plaintiff the remainder of

their settlement proceeds via a tax-exempt structured settlement.

     Accordingly, IT IS, THEREFORE, ORDERED that:

     (1)   The motion of Special Guardian Ad Litem Peggy Saunders’ Rule

60(b)(6) Motion for Relief from Order Approving Settlement for the Benefit of

Minors [Doc. 127] is GRANTED, and the Order Approving Settlement for the

Benefit of Minors [Doc. 112] is hereby AMENDED to include by reference

the terms of the parties’ new structured settlements, as set forth in the

Addenda attached as Exhibits 4 and 5 to the Special GAL’s Motion for Relief

[Docs. 127-4 and 127-5, filed under seal], and such new structured

settlements are hereby APPROVED.


                                     2



    Case 1:12-cv-00334-MR-WCM Document 130 Filed 06/16/21 Page 2 of 3
      (2)    The remaining settlement sum for the benefit of minor ward Jane

Doe1 shall be paid and disbursed as forth in Sealed Exhibit A attached to this

Order.

      (3)    The remaining settlement sum for the benefit of minor ward L.B.2

shall be paid and disbursed as set forth in Sealed Exhibit B attached to this

Order.

      IT IS SO ORDERED.




1As that person is identified in the Sealed Addendum [Doc. 113] filed contemporaneously
with the original Order Approving Settlement for the Benefit of Minors [Doc. 112].

2As that person is identified in the Sealed Addendum [Doc. 113] filed contemporaneously
with the original Order Approving Settlement for the Benefit of Minors [Doc. 112].
                                             3



     Case 1:12-cv-00334-MR-WCM Document 130 Filed 06/16/21 Page 3 of 3
